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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  TERRE HAUTE DIVISION

 DENNIS DINWIDDIE,                              )
                                                )
 Petitioner,                                    )
                                                )
 v.                                             )      Cause No. 2:18-cv-00149-JMS-MJD
                                                )
 J. E. KRUEGER, Warden,                         )
                                                )
 Respondent.                                    )

                                               *****

                      PETITIONER’S MOTION FOR ENLARGEMENT
                              OF TIME TO FILE REPLY

        Comes the Petitioner, Dennis Dinwiddie, by counsel, and for his Motion for Enlargement

 of Time to File Reply, states as follows:

        1.      The undersigned has now entered appearance as counsel for Petitioner.

        2.      According to the original scheduling Order in this case (Dkt. No. 4), the Petitioner’s

 Reply was to be filed twenty-eight days after the Government’s Answer.

        3.      The Government has sought and received three unopposed extensions of time to

 file its Answer to the Petition (Dkt. Nos. 8, 12, and 15).

        4.      The Government filed its Answer on September 14, 2018 (Dkt. Nos. 17, 18),

 rendering Petitioner’s Reply due on October 12, 2018.

        5.      The undersigned was initially unable to obtain a copy of the Presentence

 Investigation Report, filed herein as an Exhibit to the Government’s Answer to Show Cause, but

 a copy was released by the United States Attorney’s Office once the undersigned had entered

 appearance (Dkt. No. 20).
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        6.      Counsel for Petitioner has gathered the necessary information to reply to the

 government’ Answer but requires an additional ten (10) days to prepare, review, and finalize

 Petitioner’s response.

        7.      No further request for extension is anticipated. This extension is requested to allow

 sufficient time to prepare a complete and appropriate reply to the Respondent’s Answer and not

 for any purpose of delay.




                                              Respectfully submitted,

                                              /s/ J. Clark Baird
                                              J. CLARK BAIRD
                                              Attorney at Law
                                              969 Barret Ave
                                              Louisville Ky 40204
                                              (502) 583-3388
                                              jclarkbaird@gmail.com


                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the foregoing was sent via
 ECF this 16th day of October, 2018, to Brian Reitz, Assistant United States Attorney.

                                              /s/ J. Clark Baird
                                              J. CLARK BAIRD
